     Case 6:06-cr-00026-JRH-CLR Document 1181 Filed 04/20/11 Page 1 of 4




               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                      STATE SBORO DIVISION
HOMER HOLLOWAY,

     Movant,

PA                                      Case No.   CR606-026
                                                   CV6 11-021
UNITED STATES OF AMERICA,

     Respondent.

                REPORT AND RECOMMENDATION

     In United States v. Holloway, 362 F. App'x 948 (11th Cir. 2010),

Homer Holloway unsuccessfully challenged his 156-month sentence for

conspiracy to distribute, and to possess with intent to distribute, a

quantity of crack and cocaine, in violation of 21 U.S.C. § 846. CR606-

026, doc. 1044. He next filed a letter asking the district judge to

reconsider his sentence. Doc. 1133. Because it appeared that his letter

sought to "vacate and set aside, or correct the sentence" under 28 U.S.C.

§ 2255, and in fact he had invoked that remedy before, Holloway v.

United States, 2009 WL 2340686 (S.D. Ga. Jul. 27, 2009), the Court

analyzed it and concluded that it was a non-successive 28 U.S.C. § 2255

motion. Doc. 1143. It also "Castro-advised" him, id. at 1-2 (citing Castro
     Case 6:06-cr-00026-JRH-CLR Document 1181 Filed 04/20/11 Page 2 of 4



v. United States, 540 U.S. 375, 383 (2003)) and thus gave him three

choices: "(1) have his motion ruled upon as filed; (2) amend it to include

any other claims related to his guilty plea and resulting term of

imprisonment; or (3) withdraw it entirely." Id. at 2.

     Holloway chose option two. Doc. 1150. He thus now presents one

claim, as articulated in two variations over two different filings. First, he

seeks "a reconsideration of my sentence or at least a (2) point reduction

in my sentence, after I had written a proffer of confession in faith, but

was enhanced cause of a live-in-girlfriend, by the name of Stephanie

Collins Reg. # 12964-021 and please reconsider my criminal history

which was consolidated in the state courts." Doc. 1044 (emphasis

added). He thus seeks a downward adjustment in his sentence.

     Second, he "request[s that] the [sentencing judge] ... also (please)

reconsider my `minor participant' role of my plea agreement, which my

attorney, Michael Garrett, objected. Which I was denied because of a

live-in-girlfriend, by the name of Stephanie Collins Reg. # 12964-021. I

pray the courts will reconsider my minor role and consider the enormous

revelation between my participation, Holloway and Collins, to award me


                                     2
     Case 6:06-cr-00026-JRH-CLR Document 1181 Filed 04/20/11 Page 3 of 4



a (2) point reduction according to my plea agreement, which is far

different than Collins / or if any other new law comes into effect that

would help me with relief on my sentence would be gratefully

appreciative." Doc. 1150 (emphasis added). He thus seeks a reduction

for being only a "minor participant."

     On direct appeal, the Eleventh Circuit reached both "minor

participant" and "downward adjustment" arguments (albeit perhaps not

raised in precisely the same obtuse form):

     Holloway argue[d] that the district court erred in failing to
     consider him a "minor participant," thereby denying a
     downward adjustment based on his minor role in the offense.
     Holloway argue[d] that the presentence investigation report
     (PSI) clearly showed that his role in the drug distribution
     organization was significantly less than the role of
     codefendant Stephanie Collins, and he was therefore entitled
     to a minor role reduction.

Doc. 1044 at 5. Again, the Holloway court rejected this claim.

      Holloway's § 2255 motion, then, is basically a rehash of his

appeal. It thus must be denied, for "once a matter has been decided

adversely to a defendant on direct appeal it cannot be re-litigated in a

collateral attack under section 2255." United States v. Natelli, 553

F.2d 5, 7 (2d Cir. 1977) (cited in United States v. Nyhuis, 211 F.3d

                                    3
     Case 6:06-cr-00026-JRH-CLR Document 1181 Filed 04/20/11 Page 4 of 4




1340, 1343 (11th Cir. 2000) ("The district court is not required to

reconsider claims of error that were raised and disposed of on direct

appeal.")).

   For that matter, Holloway does not argue that his sentence was

imposed beyond the statutory sentencing limits governing his case.

Because

   of the narrow parameters of section 2255 review, and due to an
   available avenue of review through direct appeal, sentences
   imposed within statutory limits are generally insulated from
   section 2255 review. United States v. Frady, 456 U.S. 152, 167-
   68, 102 S.Ct. 1584, 71 L.Ed.2d 816, 830 (1982); Montemoino v.
   United States, 68 F.3d 416, 417 (11th Cir.1995); Fernandez v.
   United States, 941 F.2d 1488, 1494 (11th Cir.1991).

United States v. Barnes, 2010 WL 2044913 at * 10 (N.D. Fla. Apr. 22,

2010). Holloway's claims therefore could not be reached here in any

event.

  Accordingly, Homer Holloway's 28 U.S.C. § 2255 motion must be
DENIED. Doc. 1133.
      SO REPORTED AND RECOMMENDED this 20th day of
April, 2011.


                                                                   JUDGE
                                        SOIJ1ILERN DISTRICT of GEORGIA



                                    4
